Case 2:04-cr-20464-BBD Document 81 Filed 06/30/05 Page 1 of 2 Page|D 87

i=u.F.c> ev 451 n.c.
iN THE uNiTED sTATEs DisTRicT couRT
FoR THE WEsTERN DisTRicT oi= TENNEssEE 95 JUN 30 ph 3= i.g
WEsTERN oi\/isioN

 

milt&i,iMLD
CLERK U.S, [YBTR§§)T OOURT

uNiTED sTATEs oF AMERch WiD OF iii retrials

P|aintiff
\/s.

cR. No. 04-20464-0/
04-20471-0

cHARLoTTE cRAWFoRo

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on June 22, 2005. At that time,
counsel for the defendant requested a continuance of the hearing in order to aliow for
additional preparation in the case.

The Court granted the request and reset the hearing to Mondav. Ju|v 25. 2005,
at 1:15_p.m.. in Courtroom 3, 9th F|oor of the Federa| Building, |Viemphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. §3‘| 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this §§ day Of June, 2005.

    

RN|CE B. NALD
N|TED STATES D|STR|CT JUDGE

gurnplia~‘-GG

59

~ v v' `
l ' ` `| heart
tellier€(j 0 ll) JO {\e[.S

' ctii‘f‘?»
Tl'i\s 00 diet 3203 FHCFP On

with au\e 55 '=“‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

ENNESSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

Memphis7 TN 38105

L()rna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

HoWard Brett Manis
BOROD & KRAMER
80 M()nroe Ave.

Ste. G-l

Memphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

